   Case 3:22-cv-00184 Document 23-1 Filed on 08/18/22 in TXSD Page 1 of 2




                   UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                        GALVESTON DIVISION


ROBERT L. APTER, et al.,

                          Plaintiffs,    Case No. 3:22-cv-184

       v.                                JUDGE JEFFREY V. BROWN

 U.S. DEPARTMENT OF HEALTH
 AND HUMAN SERVICES, et al.,

                          Defendants.


                             [PROPOSED] ORDER

    Upon review of the parties’ Joint Unopposed Motion for a Briefing Schedule
for Defendants’ Motion to Dismiss, the Court ORDERS that the motion is

GRANTED. The Court further ORDERS that the following deadlines apply to
Defendants’ motion to dismiss:
      Defendants’ Motion to Dismiss due:         August 26, 2022

      Plaintiffs’ Response due:                  September 23, 2022
      Defendants’ Reply due:                     October 7, 2022

    The Court further ORDERS that the Initial Pretrial and Scheduling
Conference scheduled for September 14, 2022, at 9:00 a.m. is vacated pending the
Court’s resolution of Defendants’ motion to dismiss.


SO ORDERED, this ___ day of August, 2022.
Case 3:22-cv-00184 Document 23-1 Filed on 08/18/22 in TXSD Page 2 of 2




                                           _________________________
                                           JEFFREY V. BROWN
                                           United States District Judge




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